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                            No. 23-1457

                IN THE UNITED STATES COURT OF APPEALS
                        FOR THE EIGHTH CIRCUIT

                             United States of America,
                                          Plaintiff-Appellee,

                                         v.

                       State of Missouri, et al.,
                                 Defendants-Appellants.
__________________________________________________________________
Appeal from the United States District Court for the Western District of Missouri,
                       The Honorable Brian C. Wimes
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         APPELLANTS’ MOTION FOR STAY OF JUDGMENT
               AND INJUNCTION PENDING APPEAL
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      Missouri and the United States disagree about whether specific restrictions on

firearm ownership are valid under the Second Amendment. But according to the

United States and the district court, Missouri is not allowed even to express that

disagreement.     Here, the district court held that Missouri’s declaration of

disagreement is itself unconstitutional (along with everything else in the statute).

Worse, the district court entered this order even though no named defendant has

authority to enforce this statute. The order violates recent Supreme Court precedent,

never identifies a cause of action, and even fails to apply the required four-factor




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analysis before granting an injunction. The order invalidating a duly enacted state

law should be stayed pending appeal.

      The appeal arises from a suit challenging Missouri’s Second Amendment

Preservation Act (SAPA), Mo. Rev. Stat. §§ 1.410–1.485. The General Assembly

enacted this law to declare the legislature’s interpretation of the Second Amendment

and prohibit state law enforcement agencies and state political subdivisions from

enforcing laws conflicting with state policy. City of St. Louis v. State, 643 S.W.3d

295, 297 (Mo. 2022) (attached as Exhibit A). Private parties, not state officials, are

charged with enforcing this statute. Mo. Rev. Stat. §§ 1.460–1.470. The law is thus

a tool Missourians may use to hold their own state government accountable.

      On March 7, 2023, the district court ruled that the Act itself violates the

Constitution and granted the United States’ request to enjoin SAPA. Ex. B, R. Doc.

88, at 24. The court’s order never identifies any activity by the federal government

prohibited by SAPA. Nonetheless, it frees “[s]tate and local law enforcement

officials in Missouri” to help enforce certain federal restrictions on firearm

ownership that the General Assembly has instructed them not to enforce. Id.

      The district court’s order is deeply flawed for two basic reasons: (1) the

Second Amendment Preservation Act is enforced by private parties, not state

officials; and (2) the Act can be enforced only against the State (its agencies and




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subdivisions), not against the federal government. So at every turn, the district

court’s order fails.

      First, because private parties, not state officials, are charged with enforcing

this law, the United States has no cause of action and no standing to sue the State or

state officials. In the last two years, the Supreme Court made this crystal clear in

Whole Woman’s Health v. Jackson, 142 S. Ct. 522 (2021), as did the Fifth Circuit

when the United States sued Texas over a statute Texas officials did not enforce,

United States v. Texas, No. 21-50949, 2021 WL 4786458, at *1 (5th Cir. Oct. 14,

2021). Courts may only “enjoin named defendants from taking specified unlawful

actions,” not “enjoin challenged laws themselves.” Whole Woman’s Health, 142 S.

Ct., at 535. Because none of the named defendants here enforce this law, this Court’s

injunction runs against the statute itself. Indeed, the district court dedicated the bulk

of its analysis to enjoining definitional provisions. This is a paradigmatic example

of an impermissible injunction against the “laws themselves.”

      Second, because the Act can be enforced only against Missouri agencies and

political subdivisions—as the Missouri Supreme Court has explained, City of St.

Louis, 643 S.W.3d at 297—the United States lacks a cause of action and the

preemption arguments fail. Missouri’s authority to decline to participate in federal

law enforcement is well-established under Printz v. United States, 521 U.S. 898, 935




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(1997). The United States cannot enjoin the statute simply because it interprets the

Second Amendment differently than does the Missouri General Assembly.

      The district court’s erroneous order carries real consequence for Missourians.

Missouri’s General Assembly exercised core sovereign authority when it declared

its interpretation of the Second Amendment and prohibited Missouri’s subdivisions

and agencies from spending resources to enforce laws contrary to that interpretation.

Gregory v. Ashcroft, 501 U.S. 452, 460 (1991) (“Through the structure of its

government, and the character of those who exercise government authority, a State

defines itself as a sovereign.”). The district court’s order dismantles that exercise of

sovereign authority.

      Under Federal Rules of Appellate Procedure 8(a)(1) and 27, this Court should

stay the district court’s order and allow Missouri’s law to remain in effect, as it has

been since June 12, 2021, pending appeal. Unlike the United States, which can

continue to enforce its laws, the people of Missouri will suffer irreparable injury if

their duly enacted statute is enjoined. The injunction encroaches on the General

Assembly’s sovereign authority and denies everyday Missourians their right to hold

their own State government accountable. Despite SAPA being in force for almost

two years, the United States cannot point to a single case where it has been hauled

into any court over SAPA.




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      When courts declare state laws unconstitutional and enjoin state officials from

enforcing them, the “ordinary practice is to suspend those injunctions from taking

effect pending appellate review.” Strange v. Searcy, 135 S. Ct. 940, 940–41 (2015)

(Thomas and Scalia, JJ., dissenting from denial of the application for a stay)

(collecting cases). There is no reason to depart from this practice. If the Court does

not grant the requested stay, Missouri alternatively requests that the Court enter a

temporary administrative stay to permit the Supreme Court of the United States to

rule on its forthcoming request for relief.

                           FACTUAL BACKGROUND

      Signed into law on June 12, 2021, SAPA begins with four sections that the

Missouri Supreme Court has authoritatively interpreted to contain “legislative

findings and declarations.” City of St. Louis, 643 S.W.3d at 297. The first section

reaffirms Missouri’s policy of active federalism and all duties that entails, including

“support[ing] and defend[ing] the Constitution of the United States” and supporting

Congress’s authority “in the exercise of a few defined powers,” while still “reserving

for the state governments the power to legislate on matters concerning the lives,

liberties, and properties of citizens in the ordinary course of affairs.” Mo. Rev. Stat.

§ 1.410.2(2). The next three sections declare the General Assembly’s interpretations

of the Second Amendment and its state analogue, including that certain restrictions

on firearm ownership infringe those provisions, id. § 1.420; declare that these

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restrictions “shall be invalid to this state, shall not be recognized by this state, shall

be specifically rejected by this state, and shall not be enforced by this state,” id.

§ 1.430; and declare that state courts and state law enforcement agencies have a

general duty to protect Missourians’ rights, id. § 1.440. The district court’s order

enjoins these provisions even though they simply declare policy.

      The “five remaining sections comprise the substantive provisions to enforce

these legislative declarations.” Id. In § 1.450, the General Assembly removes state

law enforcement’s “authority to enforce” restrictions listed in § 1.420. “Sections

1.460 and 1.470 impose civil liability on state political subdivisions and law

enforcement agencies that employ individuals who knowingly violate ‘section 1.450

or otherwise knowingly deprive[ ]’ Missouri citizens of their rights to keep and bear

arms.” City of St. Louis, 643 S.W.3d at 297–98. Missouri entities face a $50,000

civil penalty for their employees violating SAPA. Section 1.480 carves out certain

acts that are not violations of the other sections, and § 1.485 is a severability clause.

      More than eight months after SAPA became law, the United States sued

Missouri in federal district court. R. Doc. 1. It alleged that SAPA violated the

Supremacy Clause as an “improper attempt at nullifying federal law,” id. ¶ 78, was

preempted by federal firearms laws that “expressly forbid certain conduct that

[SAPA] allows,” id. ¶ 82, and violated “intergovernmental immunity by directly

regulating the activities of Federal agents and those with whom the Federal

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Government deal,” id. ¶ 85. Twelve days after filing its complaint, the United States

moved for summary judgment. R. Doc. 8. Missouri opposed summary judgment

and moved to dismiss. R. Docs. 13, 16, 25.

      The court issued a permanent injunction on March 7, 2023. The court focused

its analysis on the declaratory provisions, §§ 1.420–.440. R. Doc. 88, at 14–22. It

found that the General Assembly’s interpretation of the Second Amendment “is an

impermissible nullification attempt that violates the Supremacy Clause” because the

General Assembly declared its belief that some federal laws are unconstitutional. Id.

at 14–16. It then determined that SAPA is also preempted because it “creates

confusion” for Missouri citizens. Id. at 17. Then, having determined that the first

declaratory provision is critical to the statute, the district court held that “SAPA is

unconstitutional in its entirety.” Id. at 19.

      Turning to whether the Act violates the doctrine of intergovernmental

immunity, the district court again focused on provisions that the Missouri Supreme

Court has already held are merely declaratory. Id. at 20–21 (assessing §§ 1.430–

.440). In the court’s remaining analysis—barely more than one page long—the court

finally turned to the substantive provisions and concluded that they violate the

doctrine of intergovernmental immunity because civil penalties against political

subdivisions could arise from a state employee’s previous enforcement of federal

laws and thus might “discourage federal law enforcement recruitment efforts.” Id.

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at 23. The court held that no part of SAPA was severable and prohibited Missouri

“from any and all implementation and enforcement” of it. Id. at 23–24.

      One day after this order, the State moved to stay the judgment and injunction

pending appeal.       R. Doc. 91.   The court denied the request but ordered an

administrative stay until this Court rules on this stay motion. R. Docs. 96 (Exhibit

C), 99 (Exhibit D).

                                    ARGUMENT

      Injunctive relief is “an extraordinary remedy,” and “the burden of establishing

the propriety of an injunction is on the movant.” Watkins Inc. v. Lewis, 346 F.3d

841, 44 (8th Cir. 2003); Weinberger v. Romero-Barcelo, 102 S. Ct. 1798, 1803

(1982) (“[C]ourts of equity should pay particular regard for the public consequences

in employing the extraordinary remedy of injunction.”). “In determining whether to

issue a stay pending appeal, we consider four factors: (1) whether the party seeking

the stay has demonstrated a strong likelihood of success on the merits; (2) whether

the party seeking the stay will be irreparably injured without a stay; (3) whether a

stay would substantially injure other parties; and (4) the public’s interest.” Org. for

Black Struggle v. Ashcroft, 978 F.3d 603, 607 (8th Cir. 2020) (citing Brakebill v.

Jaeger, 905 F.3d 553, 557 (8th Cir. 2018)) (granting stay pending appeal). All four

factors are met here.




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I.      On appeal, the State is likely to succeed on the merits.

        Defendants are likely to succeed on appeal because (1) state officials have no

role in enforcing the challenged law, (2) the United States would suffer no injury

(and have no cause of action) even if Missouri officials did have that authority, and

(3) the district court failed to apply the standard for issuing an injunction.

        A. The federal government lacks standing because state officials do not
           enforce the law.
        As the Supreme Court made clear just over a year ago, federal courts have

equitable jurisdiction only to “enjoin named defendants from taking specified

unlawful actions”; courts have no authority to “enjoin challenged laws themselves.”

Whole Woman’s Health, 142 S. Ct. 522, at 535. Yet enjoining the statute itself is

exactly what the district court’s order purports to do.

        Begin first with the court’s decision to hold §§ 1.420 through 1.440

unconstitutional. Almost all of the district court’s analysis is dedicated to declaring

these sections unconstitutional. R. Doc. 88, at 14–22. The court devotes barely one

page to other sections. Yet, as the Missouri Supreme Court has held, these three

sections are purely declaratory; they “contain legislative findings and declarations.”

City of St. Louis, 643 S.W.3d at 297. Indeed, the district court’s opinion describes

these provisions as definitional at least nine times. R. Doc. 88, at 15–20, 22.

Because these sections are purely declaratory—that is, incapable of enforcement by

anyone—the district court’s declaration that these provisions are unconstitutional is

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simply an improper injunction against the “laws themselves.” Whole Woman’s

Health, 142 S. Ct. 522, at 535; see Webster v. Reprod. Health Servs., 492 U.S. 490,

506 (1989) (“It will be time enough for federal courts to address the meaning of the

preamble should it be applied to restrict the activities of appellees in some concrete

way.”).

      This case is thus no different from the recent challenge to the individual

mandate of the Affordable Care Act—a mandate amended by Congress to eliminate

any enforcement mechanism. There, the Supreme Court held that the plaintiffs did

not have standing to sue. As the Supreme Court put it, the “problem lies in the fact

that the statutory provision, while it tells them to obtain that coverage, has no means

of enforcement.” California v. Texas, 141 S. Ct. 2104, 2114 (2021). “Because of

this, there is no possible Government action that is causally connected to the

plaintiffs’ injury.” Id. So too, here. Legislative findings and definitions cannot be

held unconstitutional, even if the district court thought that the definitions cause

confusion. R. Doc. 88, at 17–18. The United States has no standing to challenge

purely declaratory provisions, and there is no federal jurisdiction to enjoin statutes

themselves.

      The district court’s determination that these provisions are unconstitutional

because they “create confusion” (R. Doc. 88, at 17–18, 21) proves far too much. The

General Assembly is free to declare its interpretation of the Second Amendment

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whether by resolution, statute, or any other method. But under the district court’s

reasoning, any joint resolution declaring the General Assembly’s interpretation of

the Constitution is unconstitutional if the United States happens to disagree. Indeed,

if a court can enjoin a simple declaration by the General Assembly on the ground

that the declaration creates confusion, courts could place gag orders on the Speaker

of the House from declaring his interpretation. That cannot be correct. Federal

courts may enjoin only specific actions by persons, and “no court may lawfully

enjoin the world at large.” Whole Woman’s Health, 142 S. Ct. at 535 (quotation

omitted). Courts may not enjoin the statutes themselves, no matter how much

confusion the district court thinks the text might create.

      The district court’s decision is no stronger on the next three statutory

provisions: sections 1.450–.470. True, these provisions can be enforced. But the

United States runs into another fatal problem: none of these provisions is enforced

by any named defendant. As in Whole Woman’s Health, private parties, not state

officials, enforce violations of the Act, so the United States cannot sue the Governor

or the Attorney General for relief. And because an injunction “operat[es] in

personam” and must be “directed at someone, and govern[ing] that party’s conduct,”

Nken v. Holder, 556 U.S. 418, 428 (2009), if the United States cannot sue a Missouri

official, then the United States cannot sue the State of Missouri.         It is thus

unsurprising that neither the United States nor the district court ever identifies a

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cause of action that would permit the United States to sue state officials over a statute

enforced by private parties.

      In an attempt to get around this problem, the district court’s opinion suggests

that the Attorney General can enforce SAPA because of a Missouri statute giving

the Attorney General authority, generally, to maintain litigation “to protect the rights

and interests of the state.” R. Doc. 88, at 6. This Court rejected precisely this

argument when confronted with a materially identical Arkansas statute in Digital

Recognition Network, Inc. v. Hutchinson, 803 F.3d 952 (8th Cir. 2015), a case the

district court failed to assess at all in its analysis despite Defendants’ consistent

reliance on it. Digital Recognition Network is on all fours. There, as here, the

challenged statute “provide[d] for enforcement only through private actions for

damages,” so the court held that the plaintiffs could not sue state officials. Id. at

958. It was not enough that the Arkansas Attorney General, like the Missouri

Attorney General here, had authority to bring suit “in all litigation where the interests

of the state are involved.” Id. (citing Ark. Code § 25-16-703). Even further, the

Arkansas Attorney General expressly had “statewide law enforcement jurisdiction

and authority.” Id. (citing Ark. Code § 25-16-713). And yet because the text of the

“law at issue” was one “that provides only for private civil enforcement,” the Eighth

Circuit held that there was no standing to sue the state officials. Id. at 960–61.




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      Thus, under Digital Recognition Network, a plaintiff cannot manufacture

standing by relying on a statute providing general authority to represent the State’s

interests when the challenged statute at issue provides only for private civil

enforcement. Digital Recognition Network cannot be distinguished, and the district

court’s opinion makes no attempt to do so.

      B. The federal government fails to state a claim (or even identify a cause
         of action).
      The opinion, and the United States’ arguments, suffer from yet another fatal

flaw: the federal government has not stated a claim, or even identified a cause of

action, because SAPA can be enforced only against Missouri’s agencies and political

subdivisions, not the federal government.

      SAPA provides an enforcement mechanism only against state entities. Mo.

Rev. Stat. §§ 1.460, 1.470. Binding Missouri Supreme Court precedent confirms

this: “Sections 1.460 and 1.470 impose civil liability on state political subdivisions

and law enforcement agencies.” City of St. Louis, 643 S.W.3d at 297–98. Nothing

in the text extends enforcement against the federal government. Indeed, SAPA

explicitly states that it does not prohibit “Missouri officials from accepting aid from

federal officials in an effort to enforce Missouri laws,” § 1.450, and providing

“material aid” to federal officials, including for certain federal prosecutions, § 1.480.

      The United States thus has no ground, and no cause of action, to challenge

this law. The United States raises three arguments: nullification, preemption, and

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intergovernmental immunity. Each rests on the assumption that SAPA applies to

non-Missouri governmental entities, and all three boil down to an assertion that

SAPA is invalid under the Supremacy Clause. But the Supremacy Clause is not the

“source of any federal rights,” and certainly does not create a cause of action.

Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 324–27 (2015). And the

United States’ assumption that SAPA applies to non-Missouri governmental entities

is incorrect, as the Missouri Supreme Court has already explained. The Act has been

law since June 12, 2021. To date, the United States has not identified a single

attempt to bring suit against it. And it never will.

      As the United States has conceded and must concede, Missouri has no

obligation to enforce federal law and thus owes federal officials no duties. Printz,

521 U.S. at 925 (“Federal Government may not compel the States to implement, by

legislation or executive action, federal regulatory programs.”); id. (questionable

statute only constitutional “after assuring ourselves that they did not require the

States to enforce federal law.”). That dooms the United States’ challenge to the first

four provisions of SAPA, §§ 1.410–1.440, which the Missouri Supreme Court has

explained are merely “legislative findings and declarations.” City of St. Louis, 643

S.W.3d at 297. It also dooms the United States’ challenge to the remaining

provisions, §§ 1.450–1.470, which do have practical legal effect, because these




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provisions apply only against Missouri governmental entities. SAPA thus falls

squarely within the scope of Printz.

      The district court also errs by failing to apply binding precedent from the

Missouri Supreme Court construing SAPA. It is long established that “[t]hat the

construction of the statutes of a State by its highest courts, is to be regarded as

determining their meaning and generally as binding upon United States courts,

cannot be questioned.” Supervisors v. United States, 85 U.S. 71, 81–82 (1873). The

district court’s decision never even discusses the binding interpretation of SAPA,

instead deciding de novo how each of the provisions applies to non-governmental

actors. The district court spends the bulk of its analysis declaring §§ 1.420–1.440

unconstitutional, and it does so contrary to Missouri Supreme Court precedent. For

example, the district court says that “§ 1.440 effectively imposes an affirmative duty

to effectuate an obstacle to federal firearms enforcement within the state,” R. Doc.

88, at 22, but the Missouri Supreme Court says that § 1.440 (and §§ 1.420–1.430)

are nonsubstantive, declaratory provisions only—i.e., provisions that impose no

affirmative duty and enable no enforcement at all, City of St. Louis, 643 S.W.3d at

297. The district court says that § 1.450 directly regulates the United States, R.

Doc. 88, at 22, but again, the Missouri Supreme Court says otherwise, City of St.

Louis, 643 S.W.3d at 297.




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       The district court’s opinion similarly violates the constitutional-avoidance

canon. Section 1.450 states, “No entity or person, including any public officer or

employee of this state or any political subdivision of this state, shall have the

authority to enforce or attempt to enforce [certain] federal acts ….” Interpreting

“entity” to include federal entities—as the district court’s order did—is not only an

inferior interpretation of the plain text, but it also violates the command for courts

to adopt any reasonable interpretation that would avoid constitutional problems.

United States ex rel. Attorney General v. Delaware & Hudson Co., 213 U.S. 366,

407 (1909) (If a statute is “reasonably susceptible of two interpretations,” one of

which is constitutional, then it is the court’s “plain duty to adopt that construction

which will save the statute from constitutional infirmity.”) This rule is particularly

poignant when the court is “invited to pass upon the constitutional validity of a state

statute which has not yet been applied or threatened to be applied by the state courts

to petitioners or others in the manner anticipated.” Webster, 492 U.S. at 506

((quoting Alabama State Federation of Labor v. McAdory, 325 U.S. 450, 465

(1945)). The mandated reading (and better reading) is that “entity” encompasses

only state entities.

       The district court’s conclusions about §§ 1.460 and 1.470 fare no better.

Again, neither the district court nor the United States has ever identified a cause of

action authorizing suits against state officials who have no enforcement authority.

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And SAPA limits only the activities of Missouri governmental agencies, not the

federal government. The penalties for failing to comply are not assessed against the

United States, so there is no discrimination against the federal government. Even if

the district court was correct that SAPA might discourage federal law enforcement

recruitment efforts—a contention for which the district court provided no evidence

and which was not advanced by the United States as a basis for intergovernmental

immunity in its motion, R. Doc. 29, at 37–38, or its reply, R. Doc. 45—that chilling

is legally immaterial. A state law is not “unconstitutional just because it indirectly

increases costs for the Federal Government, so long as the law imposes those costs

in a neutral, nondiscriminatory way.” United States v. Washington, 142 S. Ct. 1976,

1984 (2022). As the district court recognized, Missouri law restricts political

subdivisions and law enforcement agencies from hiring any official—federal or

state—who has enforced certain laws. See R. Doc. 88, at 22–23. Because the law

treats federal employees who have enforced certain restrictions enshrined in federal

statute the same as, say, state employees who have enforced those restrictions when

enshrined in municipal ordinances, Missouri’s law in no way singles out federal

officials. Washington, 142 S. Ct. at 1984.

      C. The district court failed to apply the required four-factor test before
         granting an injunction.
      Missouri will also likely succeed in convincing this Court that the district

court erred by automatically granting an injunction. Nowhere in the district court’s

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order did the court apply the standard to grant a permanent injunction. Injunctions

are not automatic. “[A] federal judge sitting as chancellor is not mechanically

obligated to grant an injunction for every violation of law.” Weinberger, 102 S. Ct.

at 1803. Instead, a “plaintiff seeking a permanent injunction must satisfy a four-

factor test before a court may grant such relief.” Monsanto Co. v. Geertson Seed

Farms, 561 U.S. 139, 156 (2010). “A plaintiff must demonstrate: (1) that it has

suffered an irreparable injury; (2) that remedies available at law, such as monetary

damages, are inadequate to compensate for that injury; 3) that, considering the

balance of hardships between the plaintiff and defendant, a remedy in equity is

warranted; and (4) that the public interest would not be disserved by a permanent

injunction.” Id. at 156–57. The district court did not discuss how the United States

met that standard, and indeed, the United States devoted only a single page to this

analysis. R. Doc. 8, at 29–30.

      Failing to apply the proper legal analysis, including by failing to cite

controlling precedent, discuss or mention the applicable factors, and make the

necessary findings, is clear and reversible error. See In re Bieter Co., 16 F.3d 929,

940 (8th Cir. 1994) (“the district court’s error was in its clear failure to apply the

proper legal analysis.”). Even if the district court’s analysis for the declaratory

judgment was correct, and it is not, the district court had a duty to assess these four

factors and decide whether an injunction should issue against the State.

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II.      The Balance of Harms and the Public Interest Favor a Stay.

         The remaining equitable factors also strongly favor a stay of injunction

pending appeal.

         A. Missouri is irreparably injured without a stay.
         Declaring that a duly enacted statute is unconstitutional in all respects is de

facto irreparable harm. “Any time a State is enjoined by a court from effectuating

statutes enacted by representatives of its people, it suffers a form of irreparable

injury.” Maryland v. King, 567 U.S. 1301, 1303 (2012) (Roberts, C.J., in chambers)

(citing New Motor Vehicle Bd. of Cal. v. Orrin W. Fox Co., 434 U.S. 1345, 1351

(1977) (Rehnquist, J., in chambers)). When the State is blocked from implementing

its statutes, “the State necessarily suffers the irreparable harm of denying the public

interest in the enforcement of its law.” Planned Parenthood of Greater Texas

Surgical Health Servs. v. Abbott, 734 F.3d 406, 419 (5th Cir. 2013); Coalition for

Economic Equity v. Wilson, 122 F.3d 718, 719 (9th Cir. 1997). Here, the General

Assembly created an action for all Missouri citizens. The injunction irreparably

harms their interests and Missouri’s interests.

         B. The balance of harms and public interest favor Missouri.
         The public interest greatly favors Missouri. As the Eighth Circuit recently

reaffirmed, “it is in the public interest to uphold the will of the people, as expressed

by acts of the state legislature, when such acts appear harmonious with the


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Constitution.” Pavek v. Donald J. Trump for President, Inc., 967 F.3d 905, 909 (8th

Cir. 2020) (granting a stay of injunction pending appeal of election procedures).

      SAPA is harmonious with the Constitution. SAPA exists because “[t]he

general assembly of the state of Missouri is firmly resolved to support and defend

the Constitution of the United States,” Mo. Rev. Stat. § 1.410.2(1), and seeks to

ensure that its citizens enjoy their right to keep and bear arms under the Missouri

and U.S. Constitutions to the fullest constitutional extent, Mo. Rev. Stat.

§ 1.410.3(9). The Supreme Court’s precedent in Printz confirms that states may

instruct their officials and subdivisions not to enforce certain federal firearms laws.

      The district court’s decision also harms the public interest because it burdens

the private rights of Missouri’s citizens. SAPA provides causes of actions to law-

abiding citizens when Missouri governmental entities infringe on their right to bear

arms under not just the federal constitution, but also the state constitution. Mo. Rev.

Stat. §§ 1.460, 1.470. The right to keep and bear arms backstops “the liberties of a

republic; since it offers a strong moral check against the usurpation and arbitrary

power of rulers; and will generally . . . enable the people to resist and triumph over

them.” 2 J. STORY, COMMENTARIES ON THE CONSTITUTION OF THE UNITED STATES §

1897, pp. 620–621 (4th ed. 1873). SAPA is a state version of 28 U.S.C. § 1983 to

protect this freedom and empower citizens. By enjoining SAPA, the district has

injured law-abiding Missourians’ ability to hold their own government accountable.

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      The United States cannot possibly show that a stay, for the purposes of appeal,

would cause any injury, let alone a substantial injury, as the law requires. First, the

United States failed to show any injury to begin with. The district court suggested

that the United States’ law enforcement operations have been affected, R. Doc. 88

at 5, but the district court did not show that the United States had a right to subsidize

its law enforcement efforts with Missouri law enforcement resources. This is not a

cognizable injury, as the United States agreed that States may “lawfully decline to

assist with federal enforcement[.]” R. Doc. 1, at 3. Second, after nearly two years,

the United States has failed to show any attempted enforcement of SAPA against its

own agencies and law enforcement officers. Of course, the Missouri Supreme

Court’s authoritative reading of SAPA also prevents any such suit. City of St. Louis,

643 S.W.3d at 297. Third, the undisputed facts show that (1) state and officials

simply told the federal government that they “could not help any federal agency at

this time,” and (2) federal officers continued to enforce federal law. R. Doc. 40, at

47–48 (citing declarations filed by the United States). So there is no injury to federal

law enforcement. Fourth, to the extent that the district court believes there is any

confusion about the extent of SAPA, the United States has encouraged this confusion

by claiming that SAPA somehow applies to its agencies. It cannot receive benefit

from self-inflicted harms. Clapper v. Amnesty Int’l USA, 568 U.S. 398, 416 (2013)

(“Respondents cannot manufacture standing merely by inflicting harm on

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themselves based on their fears of hypothetical future harm that is not certainly

impending.”).

      The district court upended the constitutional balance between the federal

government and Missouri on a matter central to Missouri’s sovereignty: the conduct

of Missouri law enforcement agencies and political subdivisions. Under the district

court’s order, the General Assembly may no longer set the bounds of Missouri law

enforcement. The decision exacts a grave injury because “[w]hen the Federal

Government asserts authority over a State’s most fundamental political processes, it

strikes at the heart of the political accountability so essential to our liberty and

republican form of government.” Alden v. Maine, 527 U.S. 706, 751 (1999).

                                  CONCLUSION

      Missouri respectfully requests that this Court stay the district court’s judgment

and injunction pending a final ruling on appeal, or in the alternative, a temporary

administrative stay to permit the Supreme Court of the United States to act on the

State’s forthcoming request for a stay.




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                                     Respectfully submitted,
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                                     Attorney General

                                     /s/ Jeff P. Johnson

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                         CERTIFICATE OF SERVICE

      I hereby certify that on March 13, 2023, I electronically filed the foregoing

with the Clerk of the Court for the United States Court of Appeals for the Eighth

Circuit by using the CM/ECF system. I certify that all participants in the case are

registered CM/ECF users and that service will be accomplished by the CM/ECF

system.


                                         /s/ Jeff P. Johnson
                                        Jeff P. Johnson

                     CERTIFICATE OF COMPLIANCE

      I hereby certify that this response complies with the typeface and formatting

requirements of Fed. R. App. P. 27 and 32, and that it contains 5,120 words as

determined by the word-count feature of Microsoft Word.

                                         /s/ Jeff P. Johnson




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